Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 1 of 21



                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                               r
                                                                                   )             Lq
                                    AUGUSTA DIVISION                        (1)

                                                                                                 u)
 JOHN DUNCAN FORDHAM,                                                                        -


                Petitioner,

        V.                                         CV 111-088                          On
                                                                                                 -I
                                                   (Formerly CR 104-051)
 UNITED STATES OF AMERICA,

                Respondent.


          MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


        Before the Court is Petitioner John Duncan Fordham's motion to vacate, set aside,

or correct his sentence pursuant to 28 U.S.C. § 2255 . 1 For the reasons set forth below, the

Court REPORTS and RECOMMENDS that the motion be DENIED, that this civil action

be CLOSED, and that a final judgment be ENTERED in favor of Respondent.

I. BACKGROUND

        A.      Criminal Proceedings

        On May 26, 2004, a federal grand jury returned a 30-count indictment against

Petitioner and five co-defendants: Charles Michael Brockman, Robin L. Williams,' Matthew


        'As an alternative to § 2255 relief, Petitioner seeks a writ ofcoram nobis in the event
that he completes his term of supervised release while this matter is pending. (Doc. no. 1,
p. 1; doe. no. 1-2, p. 4.) Because Petitioner has not yet completed his supervised release, the
Court need not address this alternative request.

       'Williams filed a § 2255 motion that was similar to the instant motion in several
respects. The Honorable Dudley H. Bowen, Jr., United States District Judge, denied
Williams' motion pursuant to a recommendation by this Court on January 12, 2012. See
Williams v. United States, CV 110-153, doe. nos. 13,20 (S.D. Ga. Jan. 12,2012). Williams
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 2 of 21



 Chad Long, Rick Lamar Camp, and Fordham, Inc., d/bla Duncan Drugs (hereinafter "Duncan

Drugs"). United States v. Williams, CR 104-051, doc. no. 1 (5.11 Ga. May. 26, 2004)

 (hereinafter "CR 104-051").' Count 1 of the indictment charged each defendant with

 involvement in a conspiracy in violation of 18 U.S.C. § 371, the principle objects of which

 were: (1) to defraud the Community Mental Health Center of East Central Georgia

 ("CMHC"), a healthcare benefit program receiving federal funds, of money and property and

 of the intangible right to honest services, and to obtain money and property from a healthcare

 benefit program by means of false and fraudulent pretenses, representations, and promises,

 in violation of 18 U.S.C. § 1346-47; and (2) to embezzle, steal, obtain by fraud, and

 intentionally misapply property of the CMIHC, a program receiving federal funds, in violation

 oflSU.S.C. § 666. Id. at 1-14.

         Petitioner was also named in Count 8, which charged Petitioner, Williams,

Brockman, and Duncan Drugs with healthcare fraud in violation of § 1347; in particular,

 Count 8 stated:

        [Petitioner, Williams, Brockman, and Duncan Drugs], aided and abetted each
        by the other, did knowingly and willfully devise a scheme and artifice to
        defraud the [CMHC] and Community Service Board ["CSB"] of money and
        property and of the intangible right of honest services, and to obtain, by
        means of false or fraudulent pretenses, representations, and promises, money


 was granted a certificate of appealability, and he filed a notice of appeal. Id., doc. nos. 20,
 22.

        'As the result of the dismissal of several counts of the original indictment on the
government's motion, a redacted indictment retaining the same count numbers of the original
indictment was issued on May 5, 2005; the redacted indictment did not drop any of the
counts against Petitioner. See CR 104-051, docket entry for doc. no. 202. As the remaining
allegations in the redacted indictment were the same as those in the original indictment, the
Court will continue to refer to the original indictment for ease of reference.

                                               2
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 3 of 21



        and property owned by, and under the custody and control of, the [CMHC],
        in connection with the delivery of and payment for health care benefits, items
        and services,

    at 20. According to the indictment, in order to carry out their scheme, Williams, a

 member of the Georgia House of Representatives, and Brockman, the business manager of

 the CMHC, arranged for the CMHC and CSB to contract with Petitioner and his company,

 Duncan Drugs, to manage and operate a pharmacy located at the CMHC. See id.

        The indictment further charged that Brockman caused the CMHC to pay substantial

 "incentive awards" to Petitioner and Duncan Drugs. See j. at 20-21. Meanwhile, Petitioner

 would pay a portion of the money that he received from CMHC to Williams, who in turn

 gave things of value to Brockman in connection with IBrockinan's official actions and duties

 as an officer of the CM}IC. Id. at 21. Finally, the indictment alleged that in order to

 maintain the CSB '5 approval of the contracts with and payments to Petitioner and Duncan

 Drugs, Brockman knowingly made false representations to the CSB and others at the CMHC,

 claiming that the CMHC pharmacy managed by Petitioner was operating at a profit when in

truth it was not. Id

        At trial, Judge Bowen granted Petitioner's motion for acquittal as to the Count 1

conspiracy charge.' See Tr., pp. 1996-97. The jury found Petitioner guilty as to Count 8,

along with the other defendants named in that count.' jj at 2508; doc. no. 206. On


        'Several other counts against Petitioner's co-defendants were also dismissed, either
on motions for acquittal or motions to dismiss by the government. See CR 104-051, doe.
nos. 253-255; j, doe. no. 324 (doe. nos. 321-325 hereinafter collectively referred to as
"Tr."), pp. 1994-95, 2124.

       5 1n addition to Count 8, the jury convicted Williams on all counts in the redacted
indictment, including a separate count of theft and several counts of bribery. CR 104-051, doe.
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 4 of 21



 September 15, 2005, Judge Bowen sentenced Petitioner to serve a 52-month term of

 imprisonment and a three-year term of supervised release, and to pay $1,021,888.00 in

 restitution. j, doe. no. 325-1, pp. 150, 153; doe. no. 254. Petitioner filed a direct appeal,

 in which he argued that the evidence at trial was insufficient to support his conviction and

 that the District Court erred in denying his motion for severance. On March 12, 2007, the

 Eleventh Circuit affirmed his conviction. United States v. Williams, 219 F. App'x 963 (11 th

 Cir. 2007) (per curiam). Notably, as Petitioner concedes, he did not raise any claim

 challenging the legal viability of the honest-services charge upon which he was convicted on

 direct appeal. See j; doe. no. 1-2, p. 3 (stating that Petitioner did not raise the claim set

 forth in his § 2255 motion 011 direct appeal). Petitioner did not file a petition for a writ of

 certiorari.

 B.      Issues Raised in § 2255 Motion

         On June 15, 2011, Petitioner filed the instant § 2255 motion (doe. no. 1), in which

he challenges his conviction in light of the Supreme Court's recent decision in Skil1ingy

United States, 561 U.S. , 130 S. Ct. 2896 (2010). In Skilling, the Supreme Court

interpreted the honest-services fraud statute, 18 U.S.C. § 1346 ("Section 1346"), and

confined the honest-services fraud theory of liability solely to bribery and kickback schemes.

 130 S. Ct. at 2905. The Supreme Court specifically rejected the government's argument in

Skifling that Section 1346 criminalizes undisclosed self-dealing. jj at 2932.

         Petitioner contends that "under the United States Supreme Court decision in


110. 204. Brockman was convicted on all counts except for one of the bribery counts, but his
convictions were vacated when he died shortly after filing a notice of appeal. See j, doe.
nos. 320, 329, 330.

                                               4
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 5 of 21




 [Skilling], the conduct for which [he} was charged was not a crime, in that the provisions of

 [Section 1346] were overly broad." (Doc. no. 1-2, p. 3.) Petitioner further contends that the

 payments he made to Williams did not constitute bribes. d.) Petitioner also asserts that

 he never paid money to Brockman or any other CMHC officer and that "[t]here was no

 evidence or documents showing that [he] or Duncan Drugs ever provided anything but

 honest services to the CMIIC and its pharmacy customers." (Ld. at 14.) Thus, according to

 Petitioner, "[t]he conduct upon which [his] conviction may rest, that is of entering into

 contracts with the CMHC and receiving money and paying an agent, Mr. Williams, money,

 is no longer a crime. The jury was erroneously instructed upon the Govemment's illegal

 honest services fraud theory." Qd. at 15.)

         Respondent contends in its response that Petitioner's § 2255 claim is procedurally

 defaulted and lacks merit. ( doe. no. 9.) Petitioner has filed a reply brief in which he

 reasserts that his conviction should be vacated under Skilling and argues that Respondent has

 taken a position inconsistent with the position it took in a separate case in the Middle District

 of Georgia, United States v. Blitch, No. 5:08-cr-40-HL, doe. no. 405 (M.D. Ga. Sept. 6,

 2011). (See doe. no. 9.) The Court resolves the matter as follows.

 11.    DISCUSSION

        The threshold issue in this case is whether Petitioner's Ski11jpg-based § 2255 claim

 is procedurally defaulted. Respondent argues that it is and that the default cannot be excused

because Petitioner cannot show either (1) cause excusing his default and actual prejudice

 from the error, or (2) that the Court's failure to consider his claims will result in a

miscarriage of justice because he is "actually innocent." (See doe. no. 7.)


                                                5
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 6 of 21



         Petitioner counters that "cause exists for. . . not bringing up this issue on appeal

 because the issues in Skilling ... had not been addressed by the Supreme Court and were

 unknown." (Doc. no. 1, p. 2; see also doe. no. 1-2, p, 4 ("[Petitioner] has not procedurally

 defaulted in not bringing this claim earlier... . [because] the legal issues in this case were

 not known at the time of [his] conviction and appeal.").) Petitioner also asserts that he is

 actually innocent because the conduct for which he was convicted is no longer prohibited

 following Ski11ig. (5ee doe. no. 1, p. 2; doe. no. 1-2, pp. 4, 14-15.)

         As Respondent correctly notes (see doc. 110. 7, p. 4), a prisoner seeking collateral relief

 "must clear a significantly higher hurdle than would exist on direct appeal." United States v.

 Frady, 456 U.S. 152, 166 (1982). Generally, where a petitioner seeks collateral relief based

 on trial errors to which 110 contemporaneous objection was made at trial, j4 at 167-68, or on

 direct appeal, "it will be procedurally barred in a § 2255 challenge." United States v. Montano,

 398 F.3d 1276, 1279-80(1 lth Cir. 2005) (per curiam) (citing Mills v. United States, 36 F.3d

 1052, 1055 (11 th Cir. 1994)). "A ground of error is usually 'available' 011 direct appeal when

 its merits can be reviewed without further factual development." Mills, 36 F.3d at 1055. In

 other words, Petitioner may not use this collateral attack as "a surrogate for a direct appeal."

 Lynn v. United States, 365 F.3d 1225, 1232 (1 lth Cir. 2004) (citation omitted).

        To overcome a procedural bar or default, the § 2255 movant must "demonstrate a cause

for this default and show actual prejudice suffered as a result of the alleged error." Montano,

398 F.3d at 1280.

         In the alternative, a defendant can also overcome the procedural bar created by
        the failure to appeal if be could [sic] show a fundamental miscarriage of
        justice; 'in an extraordinary case, where a constitutional violation has probably
        resulted in the conviction of one who is actually innocent, a federal habeas

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Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 7 of 21




         court may grant the writ even in the absence of a showing of cause for the
         procedural default.'

    (quoting Murray v. Carrier4 477 U.S, 478 496 (1986)).

         In examining a petitioner's procedural default, courts must not apply "an overly rigid

 per se approach." Holland v. Florida, 560 U.S. ____, 130 S.Ct. 2549, 2565 (2010). That

 being said, courts must exercise restraint before expanding the exceptions to the procedural

 default rule. McKay v. United States, 657F.3d 1190,1198 (llthCir. 2011) (citing Dretke v.

 Haley, 541 U.S. 386, 394 (2004) ("[I]t is precisely because the various exceptions to the

 procedural default doctrine are judge-made rules that courts as their stewards must exercise

 restraint, adding to or expanding them only when necessary,")). Societal interests in the

 finality of criminal judgments further counsel against a permissive scope of collateral review.

 Sees e.g., Gilbert v. United States, 640 F.3d 1293 1309-12 (1 lth Cir. 2011) (en banc)

 (explaining that the "critically important nature" of fmality interests weigh against permissive

 interpretations of procedural rules in the habeas corpus context). It is with these principles in

 mind that the Court turns to Petitioner's motion.

         Here, Petitioner does not contend that the merits of his § 2255 claim could not be

 reviewed on direct appeal without further factual development. Therefore, his claim was

 "available" withing the meaning of Mills. See 36 F.3d at 1055. Accordingly, the claim is

 not cognizable unless Petitioner can overcome the procedural bar by establishing cause and

prejudice or by showing actual innocence. See Montano, 398 F.3d at 1280. The Court

 addresses these issues separately below, concluding that Petitioner cannot satisfy either

standard.




                                                7
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 8 of 21



           A.      Cause and Prejudice

                   1.     Petitioner Has Not Established Cause

           As noted previously, Petitioner argues that cause excusing his default is established

 in this case because the Supreme Court issued its holding in Skilling after the time for

 Petitioner's direct appeal expired; thus, he argues, he had no basis for raising such a novel

 SkiI1in-type challenge to Section 1346. (Doc. no. 1, p. 2; doc. no. 1-2, p. 4.) The Court

 disagrees.'

           To establish cause premised on a recent legal development, Petitioner must

 demonstrate that his claim is "so novel that its legal basis is not reasonably available to

 counsel." Bousley v. United States, 523 U.S. 614, 622 (1998). "[T]he question is not

 whether subsequent legal developments have made counsel's task easier, but whether at the

 time of the default the claim was 'available' at all." Smith v. Murra y, 477 U.S. 527, 537

 (1986).

           Here, Petitioner has not demonstrated cause based on the ruling in Skilling. Despite

 his argument to the contrary, the vagueness challenge to Section 1346 at issue in Skillin2 was

 not a novel claim at the time of Petitioner's direct appeal. In fact, prior to Skilling and

Petitioner's direct appeal, the scope of honest-services fraud under Section 1346 had been

challenged numerous times in circuit courts across the nation, albeit without much success.

See,-e.g., United States v. Rybicki, 354 F.3d 124, 142-43 (2d Cir. 2003) (en banc); United



        61n determining that Petitioner has not established cause, the Court applies the same
reasoning adopted by the District Court in finding that Williams had not established cause
for procedurally defaulting his Skilling-based § 2255 claim. See CV 110-153, doc.
nos. 13, 20.

                                                8
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 9 of 21



 States v. Welch, 327 F.3d 1081, 1109 n.29 (10th Cir. 2003); United States v. Hasner, 340

 F.3d 1261,1268-69 (1 lth Cir. 2003); United States v, Easton, 54 F. App'x 242,244 (Sth Cir.

 2002) (percuriam); United States v. Frost, 125 F.3d 346, 371 (6th Cir. 1997); United States

 v. Waymer, 55 F.3d 564, 568-69 (1 lth Cir. 1995). Moreover, Skilling was not heard in

 isolation; the Supreme Court granted certiorari for two cases that also raised challenges to

 the scope of Section 1346. Skilling, 130 S.Ct. at 2912 n.9; Black v. United States, No. 08-

 876, 129 S.Ct. 2379 (2009); Wevhrauch v. United States, No. 08-1196, 129 S. Ct. 2863

 (2009). In short, there were numerous vagueness challenges to Section 1346 prior to

 Petitioner's direct appeal. Thus, Petitioner's contention that a Ski11in-type argument was

 so novel that it was unavailable to him must fail.

        Furthermore, the fact that the Eleventh Circuit and other appellate courts had rejected

 previous vagueness challenges to Section 1346 does not provide cause for Petitioner's

 default. That an argument appeared likely to fail is insufficient cause to excuse procedural

 default. Bousley, 523 U.S. at 623 ("futility cannot constitute cause if it means simply that

 a claim was 'unacceptable to that particular court at that particular time.") (quoting Engle

v. Isaac, 456 U.S. 107, 130 n.35 (1982)). The majority of courts to consider the issue of

futility have similarly held that Bousle y bars a Skilling-based claim that was not raised on

direct appeal. Ryan v. United States, 645 F.3d 913, 916 (7th Cir. 2011) (Easterbrook, J.)

petitionfor cert. filed, No. 11-499 (Oct. 19, 2011); United States v. Lvnch,       F. Supp.2d

     Nos. 07-431-01,07-431-02,2011 WL 3862842, at *3 (E.D. Pa. Aug. 31, 2011); United

States v. Jennings, Nos. CR-04-402, CV-1 1-150 (RHK), 2011 WL 3609298, at *3 (D. Minn.

Aug. 15, 2011) appeal docketed, No. 11-3127 (8th Cir. Sept. 30, 2011); United States v.
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 10 of 21



 Scruggs, No. 3:07CR192-B-A, 2011 WL 1832769, at *3 (N.D. Miss. May 13, 2011),

 reconsideration denied, 2011 WL 2566140, at *1 (N.D. Miss. June 28, 2011), appeal

 docketed, No. 11-60564 (5th Cir. Aug. 23,2011); Walker v. Rivera, F. Supp.2d , No.

 3:10-2464-RMG, 2011 WL 4480170, at *2 (D.S.C. Sept. 26, 2011), appeal docketed, No.

 11-7425 (4th Cir. Oct. 27, 2011). But see Stayton v. United States, 766 F. Supp. 2d 1260,

 1266-67 (M.D. Ala. 2011); United States v. McDonnell, Nos. SACV 10-1123, SACR 04-

 0309, 2011 WL 2463194, at *35 (C.D. Cal. June 20, 2011).

         The Seventh Circuit, the highest court to have considered the issue, held that former

 Illinois governor George H. Ryan, who had been convicted ofhonest-services mail fraud and

 violations of the Racketeer Influenced and Corrupt Organizations Act, failed to show cause

 to excuse his procedural default because futility is insufficient to establish cause. R yan, 645

 F.3d at 916-17 (citing Bousley, 523 U.S. at 622-23). Moreover, the Seventh Circuit

 concluded, it would not have been futile for Ryan to make a Skilling-type challenge to

 Section 1346. To borrow from Ryan, "If [Fordham's] lawyers had done what Skilling's

 lawyers did, the controlling decision today might be [Fordham] rather than Skilling." Id. at

 916. Nothing prevented Petitioner from asserting a similar vagueness challenge to the statute

 on direct appeal, and his failure to do so bars his claims.

         The Court recognizes the existence of a minority position whose adherents have

 found cause based on the novelty of Skilling-based claims.Sta yton, 766 F. Supp.2d at

 1266-67; McDonnell, 2011 WL 2463194, at *3_5 In Stayton, for example, the District Court

 for the Middle District of Alabama found that the Supreme Court's holding in Ski was

 such a "clear break with the past" that it excuses the procedural default of petitioners whose


                                               10
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 11 of 21




 appeals predate Skilling. The court held that "when the state of the law at the time [of

 appeal] did not offer a reasonable basis upon which to challenge the jury instructions, that

 constitutes cause for failing to raise the issue at that time." 766 F. Supp.2d at 1266 (quoting

 Reed v. Ross, 468 U.S. 1, 16-17 (1984)) (internal quotations omitted).

         The court in Stayton followed dicta in Reed which stated that there might be no

 reasonable basis for challenging jury instructions where a Supreme Court decision overturns

 "a longstanding and widespread practice to which the Supreme Court has not spoken, but

 which a near-unanimous body of lower court authority has expressly approved." Id. (quoting

 Reed, 468 U.S. at 17). Finding that Skilling presented such a situation, the district court

 concluded that this gave the petitioners in that case cause excusing their default. Id. at 1269.

         To reconcile its application of Reed with Bousley 's instruction that futility is

 insufficient to demonstrate cause, the district court explained that Bouey applies where a

 claim had been rejected by a particular court or circuit, but had not been met with "near-

 unanimous" rejection by lower courts across the nation. See A at 1267 n.7. The district

 court speculated that an overly rigid application of the procedural default rule would spur

 defendants to raise any conceivable claim on direct appeal to account for the possibility that

 the claim might one day provide relief on collateral attack following a future Supreme Court

 decision. Id.; see also McDonnell, 2011 WL 2463194, at *3_5 (finding cause to excuse

 procedural default under similar reasoning).

        The Court declines to follow the reasoning set forth in Stavton. While mindful that

 an overly rigid application of procedural default rules is improper, Holland,130 S. Ct. at

 2563, it is equally important for the Court to show restraint before carving out further


                                                11
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 12 of 21




 exceptions to the procedural default rule. Dretke, 541 U.S. at 394. Here, the Court will not

 create further exceptions to the procedural default rule where the language in Bousley is

 clear: futility is insufficient to establish cause. 523 U.S. at 623. Moreover, the Court finds

 that the concern expressed in Stavton for spurring non-meritorious claims is overstated:

 SkilIin2 does not present the situation where a new Supreme Court decision has suddenly

 overturned an unchallenged rule of law. As noted above, Section 1346 had been actively

 challenged on vagueness grounds during the period leading up to Petitioner's direct appeal

 and the Supreme Court's decision in Skilling. In other words, concern economy

 is premature where litigants and courts continue to grapple with the law at issue.

         Furthermore, Eleventh Circuit law counsels in favor of upholding procedural rules

 in habeas corpus cases despite arguments that claims were novel or futile. See Sawyer v.

 Holder, 326 F.3d 1363, 1366-67 (1 lth Cir. 2003) ("Sawyer argues that he can show cause

 [excusing procedural default] because at the time of his direct appeal and first habeas

 petition, circuit precedent foreclosed his claim under Richardson. However, the Supreme

 Court rejected such an argument in Bouslev."); see also United States v. Coley, 336 F. App'x

 933, 936 (11th Cir. 2009) (per curiam) (finding claim alleging sentencing error was

 procedurally defaulted irrespective of the fact that it relied on Supreme Court cases not yet

 decided at the time of appeal); Howard v. United States, 374 F.3d 1068, 1072-73 (1 lth Cir.

 2004) (novelty of claim does not excuse procedural default where type of claim at issue had

 been brought previously and petitioner could have easily brought it as well). Consistent with

 the majority approach and the Eleventh Circuit's application ofBousley, the Court concludes

 that Petitioner has failed to show cause excusing his default.


                                              12
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 13 of 21



                 2.      Petitioner Has Not Established Actual Prejudice

         Petitioner has not shown cause to excuse his procedural default, yet even if he did,

 Petitioner must also show prejudice. Petitioner contends that he "has been prejudiced, in that

 he has spent time in jail, has paid hundreds of thousands of dollars, is under supervised

 release and, while on supervised release, he cannot have his license reinstated," (Doc. no.

  1, p. 2.) Petitioner's argument misconstrues the type of prejudice that he must show. That

 is, the mere existence of a sentence involving imprisonment and supervised release,

 accompanied by a collateral consequence such as license forfeiture, can hardly suffice to

 show prejudice. Indeed, courts would be bard-pressed to find a petitioner who was not so

 prejudiced.

         Rather, to demonstrate actual prejudice, a prisoner "must shoulder the burden of

 showing, not merely that the errors at his trial created apossibility of prejudice, but that they

 worked to his actual and substantial disadvantage, infecting his entire trial with error of

 constitutional dimensions." Frady, 456 U.S. at 170 (emphasis in original). Thus, Petitioner

 must demonstrate that the reference to the allegedly invalid honest-services theory "in the

 indictment, the jury instructions, or during trial 'worked to his actual and substantial

 disadvantage.'" Lomelo v. United States, 891 F.2d 1512, 1513 (1 lth Cir. 1990) (quoting

 Frady, 456 U.S. at 170).

         The petitioner in Lomelo, who was convicted on several counts of mail fraud and

 extortion, argued on collateral attack that the Supreme Court's holding in McNally v. United

 States, 483 U.S. 350 (1987), which removed the intangible right to good government from

 the scope of the mail fraud statute, rendered his conviction for mail fraud invalid and resulted


                                                13
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 14 of 21



 in "prejudicial spillover" to his convictions for extortion, rendering those convictions invalid

 as well. Id. In assessing prejudice, the Court of Appeals held that the wording of the

 indictment on which the conviction was based was a "key consideration" and reasoned that

 a petitioner cannot show prejudice from an invalid theory in the indictment where the

 indictment alleges a valid theory in conjunctive fashion. Id. at 1517. In other words, if a

 valid and invalid theory are alleged using the conjunctive "and" such that a conviction must

 have required the jury to convict on a valid theory, then there is no prejudice. Furthermore,

 jury charges must be read as a whole, and should be read in the broader context of allegations

 in the indictment and at triaL 7 See id. at 1518-19.

         Applying these principles, the Court concludes that Petitioner cannot show actual

 prejudice regarding his health care fraud conviction on Count 8 of the indictment, which

 charged that:

        [Petitioner, Williams, Brockman, and Duncan Drugs], aided and abetted each
        by the other, did knowingly and willfully devise a scheme and artifice to
        defraud the [CMITC] and [CSB] of money and property and of the intangible
        right of honest services, and to obtain, by means of false or fraudulent
        pretenses, representations, and promises, money and property owned by, and
        under the custody and control of, the [CMHC], in connection with the
        delivery of and payment for health care benefits, items and services.

 CR 104-051, doc. no. 1, p. 20. Thus, as Respondent points out, Count 8 of the indictment



         'The Court acknowledges that Congress passed Section 1346 to override the Supreme
 Court decision in McNally by permitting fraud convictions to be predicated on deprivations
 of honest services. United States v. Walker, 490 F.3d 1282, 1297 n.16 (llth Cir. 2007)
 (citing Waymer, 55 F.3d at 568 n.3). Furthermore, while Lomelo reached a contrary
 conclusion under the cause prong of the cause and prejudice standard, Bousley has clarified
 the analysis under the cause prong, as explained above. See 523 U.S. at 623; accord Sawyer,
 326 F.3d at 1366-67. Despite these shifts in the law, Lomelo's analysis under the prejudice
 prong remains good law.

                                               14
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 15 of 21



 charges, in conjunctive fashion, that Petitioner engaged in money and property fraud as well

 as honest-services fraud. (See doe. no. 7, p. 8.) Accordingly, Petitioner cannot show

 prejudice from the indictment itself. Lomelo, 891 F.2d at 1517.

         The jury instructions on Count 8 provided that Petitioner could be found guilty of

 healthcare fraud if he:

        knowingly executed or attempted to execute a scheme or plan (a) to defraud
        a health care benefit program[;] or (b) to deprive a health care benefit
        program of the intangible right of honest services; or (c) to obtain money,
        assets, or property of a healthcare benefit services program by means of false
        or fraudulent pretenses....

 CR 104-051, doe. no. 324-5, p. 21.

        Although the jury instruction for Count 8 was structured in disjunctive, rather than

 conjunctive fashion, it must be read in the broader context of all the charges. See Lomelo,

 891 F.2d at 1518. In describing the scheme alleged in Count 8, the indictment clarified that

 Brockman and Williams arranged for the contract with the CMHC pursuant to which

 Petitioner operated the CMHC pharmacy. It further specified that Brockman caused the

 CMHC to make significant "incentive payments" to Petitioner, a portion of which he paid

 to Williams, who in turn give things of value to Brockman. CR 104-051, doe. no. 1,

 pp. 20-21. Moreover, based on the same conduct alleged in Count 8, the indictment charged

 Williams with multiple counts of bribing Brockman, on which he was separately convicted.

 See id., doe. nos. 1, 204. The jury could not have convicted Williams for conduct on the

 bribery counts without also finding the same conduct alleged in Count 8. It is therefore

 evident that the jury convicted Petitioner based on his participation in a scheme involving

 bribery, contrary to his contention that he may have only been convicted on an improper


                                             15
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 16 of 21



 honest services fraud theory. Accordingly, in light of the broader context of the indictment

 and Williams' separate convictions for the same conduct alleged in Count 8, Petitioner

 cannot show prejudice based on the jury instruction for Count 8. SeeLomelo,891F,2dat

  1519.

          Moreover, while Petitioner may speculate that ajury could have found him guilty on

 Count 8 based solely on an invalid theory of honest-services fraud, the applicable standard

 demands that he show the alleged errors created more than apossibility of prejudice; rather,

 he must show that they worked to his actual and substantial disadvantage. Frady, 456 U.S.

 at 170. Here, Petitioner's only attempt to make this showing involves the aforementioned

 allegations of being subjected to imprisonment and supervised release. It is apparent that he

 has therefore fallen well short of demonstrating actual prejudice.

          In sum, Petitioner must show both cause and prejudice to avoid procedural default.

 Montano, 398 F.3d at 1280. Here, he has shown neither. Accordingly, his default is not

 excused under the cause and prejudice standard.

          B.      Actual Innocence

          Although Petitioner has failed to demonstrate cause and prejudice, the Court must still

 examine whether he can establish actual, factual innocence to save him from default.

 Petitioner contends that he is actually innocent, arguing that the conduct for which he was

 convicted is no longer prohibited following Skilling. (See doc. no. 1, p. 2.) Petitioner asserts



         'Petitioner's contention that his payments to Williams did not constitute bribes is
 irrelevant to this determination. As explained more fully below, Petitioner was neither
 accused nor convicted of bribing Williams, but rather was convicted of participating in a
 scheme in which Williams bribed Brockman.           infra Part H.B.

                                                16
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 17 of 21



 that "[t]here was no evidence or documents showing that [he] or Duncan Drugs ever

 provided anything but honest services to the CMHC and its pharmacy customers." (Doc. no.

  1-2, p. 14.) Petitioner further argues that his payments to Williams do not fit the definition

 of bribe, and he emphasizes the fact that he never directly gave money to Brockman "or any

 officer or employee of the CMHC or the CSB." (iii. at 13-14.) According to Petitioner, as

 a result, "there can be no scheme involving bribery or kickbacks." (Ld. at 14.) Respondent

 contends that Petitioner has not satisfied the actual innocence standard because he cannot

 show factual innocence as to the theories charged in Count 8 that remain intact following

 Skilling. Respondent has the better argument.

         To establish actual innocence, Petitioner must demonstrate that "in light of all the

 evidence, it is more likely than not that no reasonable juror would have convicted him."

 Bousley, 523 U.S. at 623 (quoting Schlup v. Delo, 513 U.S. 298,327-28(1995)). The actual

 innocence exception "is exceedingly narrow in scope," Johnson v. Alabama, 256 F.3d 1156,

 1171 (llth Cir. 2001), and requires a petitioner to show "factual innocence, not mere legal

 insufficiency." Bousiçy, 523 U.S. at 623. "In addition, 'to be credible, a claim of actual

 innocence must be based on reliable evidence not presented at trial."' Johnson, 256 F.3d at

 1171 (quoting Calderon v. Thompson, 523 U.S. 538, 559 (1998)). Thus, if Petitioner fails

 to produce new reliable evidence, then he cannot establish actual innocence if the evidence

 that was presented at trial would permit a properly instructed, reasonablejury to convict him

 on Count 8. See .d.; Rvan, 645 F.3d at 918 ("The right question.. . is whether, applying

 current legal standards to the trial record, Ryan is entitled to ajudgment of acquittal. If yes,

 then the mail fraud convictions must be vacated; if no, then they stand.").


                                                17
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 18 of 21




         Petitioner has offered no reliable evidence not provided at trial to suggest that he is

 actually innocent of honest-services fraud under a bribery/kickback theory. Calderon, 523

 U.S. at 559. Thus, if a properly instructed jury could have convicted Petitioner on Count 8

 using the legal standards set by Ski11ing, then his convictions stand. Ryan., 645 F.3d at 918.

         Contrary to Petitioner's assertions, the trial record reveals evidence that would

 support his conviction on Count 8 for conduct that remains unlawful post-Skillin2. For

 example, as Respondent points out (see doc. no. 7, pp. 8-9), the prosecution presented

 evidence that Brockman ousted the former CMHC pharmacist, who had been paid $64,000

 a month, in order to contract Petitioner and Duncan Drugs to operate the CMHC pharmacy.

 Tr., pp. 587-90. The contracts provided for Petitioner to receive a monthly management fee

 ranging from $11,500 to $ 18,000, on top of which he received "incentive payments," which

 totaled $975,000 during a single two-year period and only a portion of which were

 contractually provided for. Id. at 62-66, 533-35 & Gov't Exs. 702-707, 713A. From the

 money he received from the CMIIC, Petitioner paid $357,586 to Williams, who provided

 Brockman with various things of value in connection with his duties as a CMHC official.

 Id. at 543-45, 548-51, 1565-69, 1672-1675, 1718 & Gov't Fxs. 714A-D, 714H, 714J-L,

 714Q, 714S, 714Y, 816. Furthermore, the prosecution presented evidence that Brockman

 made misrepresentations to the CMHC Board by telling its members that the CMHC

 pharmacy was profitable and that they were receiving a "free pharmacy," when in fact the

 pharmacy was losing money.     jj. at 2146-48 & Gov't Exs. 737-1, 737-2, 737-26, 737-27.
        In short, there is ample evidence upon which a properly instructed jury could convict

 Petitioner for his part in a scheme involving an honest-services theory premised on bribes


                                              18
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 19 of 21



 and kickbacks - a theory that remains valid after Skillipg. 130 S. Ct. at 2905. Indeed, as

 noted above, the scheme alleged in Count 8 involved the same conduct for which Williams

 was convicted on multiple separate counts of bribing Brockman, and Petitioner has not

 shown any facts to call those bribery convictions into question. See supra Part ll.A.2. To

 borrow again from Ryan, the inference that Petitioner was properly convicted based 011 his

 participation in a scheme that involved a valid bribery/kickback theory of honest-services fraud

 "verges on the inescapable." 645 F.3d at 919.

         Furthermore, Count 8 alleged more than healthcare fraud based on the deprivation

 of honest services; it also alleged that Petitioner engaged in healthcare fraud under 18 U.S.C.

 § 1347 by devising a scheme to obtain money and property of the CMHC "by means of false

 or fraudulent pretenses, representations, and promises." CR 104-051, doe. no. 1, p. 20. To

 establish actual innocence, Petitioner would need to establish not only that he was actually

 innocent of participating in a scheme to defraud the CMHC ofBrockman's honest services,

 but also that he was actually innocent of participating in a scheme to defraud the CHMC of

 money and property. See Skilling, 130 S. Ct. at 2934 (stating that Skilling's conspiracy

 conviction based on an invalid honest-services theory and separate, valid theories are subject

 to harmless error analysis 011 direct appeal). Petitioner has not even attempted to make this

 showing - nor could he.

        Petitioner's arguments are insufficient to justify application of the narrow actual

 innocence exception. For example, Petitioner misses the mark with his assertion that there

 is no evidence that he provided anything but honest services to the CMHC and its pharmacy

 customers. (Lee doc. 110. 1-2, p. 14.) As Respondent is quick to point out, the prosecution


                                               19
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 20 of 21



 never alleged that the CMHC was deprived of the honest services of Petitioner or Williams;

 rather, it alleged, and proved at trial, that Petitioner, Brockman, and Williams, aiding and

 abetting each other, participated in a scheme to defraud the CMHC of the honest services of

 its manager, Brockman. (See doe. no. 7, pp. 11-12.) Petitioner is similarly off-base in

 contending that his payments to Williams did not constitute bribes. (See doe. no. 1-2, pp.

 13-14.) Petitioner fails to point to any instance in which the prosecution alleged or attempted

 to prove that his payments to Williams constituted bribes. What the prosecution alleged in

 Count 8 and proved at trial was that Petitioner participated in a scheme in which Williams

 bribed Brockman; as noted previously, Williams was separately convicted of bribery as a

 result of his improper transactions with Brockman.'

        In sum, Petitioner has failed to show that a properly instructed jury could not have

 convicted him on Count 8 for conduct that remains unlawful after Skilling. Therefore, the

 Court finds that he has not demonstrated actual innocence. Because Petitioner's claim in his

 § 2255 motion is procedurally defaulted and he has provided no basis for excusing the

 default, his § 2255 motion should be DENIED,

        C.      Allegation Regarding Respondent's Position in Other Cases

        Finally, before concluding, the Court will briefly address Petitioner's assertion in his

 reply that Respondent's position in this case "is somewhat different" from the position taken

 in Blitch, No. 5:08-cr-40-HL, doc. no. 405, a separate § 2255 case in which the respondent


        9Conspicuously absent from Petitioner's argument is any legal analysis as to whether
 his payments to Williams amounted to impermissible kickbacks. While the Court need not
 make any determinative findings on this issue, it notes that the payments were characterized
 as kickbacks during the government's closing argument and at sentencing. lee CR 104-051,
 doe. no. 325-1, pp. 17-18; Tr., p. 2432.

                                              20
Case 1:04-cr-00051-DHB-BKE Document 412 Filed 01/24/12 Page 21 of 21




 conceded that the petitioner's honest services fraud conviction should be vacated without

 raising the issue of procedural default. doc. no. p. 2.) First, Petitioner makes no attempt

 to explain the relevance of this assertion; nor does he provide any legal authority in support

 of his apparent request for this Court to police the consistency of the positions taken in

 § 2255 cases in other districts. Furthermore, Blitch is plainly incongruous with the instant
 case, as it involved a conviction based solely on a legal theory rejected by Skilling, indicating

 that "a constitutional violation ha[d] probably resulted in the conviction of one who is

 actually innocent." Montano, 398 F.3d at 1280. Here, in contrast, Petitioner's conviction

 on Count 8 involved conduct that remained unlawful following Skilling, as explained above.

 Therefore, the Court rejects Petitioner's attempt to analogize his case to Blitch.'°

 111. CONCLUSION

         For the reasons set forth above, the Court REPORTS and RECOMMENDS that the

 instant § 2255 motion be DENIED, that this civil action be CLOSED, and that a final

 judgment be ENTERED in favor of Respondent.

         SO REPORTED and RECOMMENDED on thi-4ay of January, 2012, at

 Augusta, Georgia.



                                                    / £51&P
                                                 W. L OARFIEL!D 0
                                                 UN1TED,TATES MAG SRATE JUDGE

         "Additionally, the Court notes that procedural default is an affirmative defense,
 which will be waived if the government fails to raise it. Howard v. United States, 374 F.3d
 1068, 1070 (11 th Cir. 2004). Thus, even if Respondent should have raised a procedural
 default argument in another case involving Ski1Iin-based claims, but failed to, the Court
 does not agree that Respondent should be prohibited from asserting the defense here.
                                               21
